                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE


 TRACY ANDRIANO,                                     )
                                                     )
      Plaintiff,                                     )   Docket No. 3:15-CV-0863
                                                     )
 v.                                                  )
                                                     )   JUDGE HAYNES
 TYSON FOODS, INC.,                                  )   MAGISTRATE JUDGE HOLMES
 TYSON FRESH MEATS, INC.,                            )
 a subsidiary of Tyson Foods, Inc.                   )   JURY DEMAND
                                                     )
      Defendants.                                    )




                                 JOINT MEDIATION REPORT


         Pursuant to the Case Management Order governing this matter (Docket No. 11), the

parties hereby submit this joint mediation report.

         The parties had a meeting to discuss whether this case could be resolved without further

discovery proceedings on January 20, 2016.

         The parties are working cooperatively to move this case forward but at this early stage in

discovery do not feel mediation would be productive. After completion of depositions the parties

will be in a better position to assess the settlement value of this matter and to pursue alternative

dispute resolution if appropriate.




                                                 1

      Case 3:15-cv-00863 Document 14 Filed 01/27/16 Page 1 of 3 PageID #: 53
                               Respectfully Submitted,

                               ALLMAN & ASSOCIATES

                               /s/ Andy L. Allman
                               Andy L. Allman, BPR No. 17857
                               R. Patrick Parker, BPR # 16847
                               131 Saundersville Rd., Suite 110
                               Hendersonville, TN 37075
                               Telephone: (615) 933-0110
                               Facsimile:(615) 265-8766
                               andy@andylallman.com

                               Counsel for Plaintiff


                               BAKER, DONELSON, BEARMAN,
                               CALDWELL & BERKOWITZ, P.C.

                               /s/Kenneth A. Weber
                               Kenneth A. Weber, BPR No. 015730
                               Megan M. Sutton, BPR No. 029419
                               Baker Donelson Center
                               211 Commerce Street, Suite 800
                               Nashville, Tennessee 37201
                               Telephone: (615) 726-5760
                               Facsimile: (615) 744-5760
                               Email: kweber@bakerdonelson.com
                               Email: msutton@bakerdonelson.com

                                Attorneys for Defendants




                                  2

Case 3:15-cv-00863 Document 14 Filed 01/27/16 Page 2 of 3 PageID #: 54
                                 CERTIFICATE OF SERVICE

        I certify that on January 27, 2016, a copy of the foregoing was filed electronically. Notice
of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt.


Kenneth A. Weber, BPR No. 015730
Megan M. Sutton, BPR No. 029419
Baker Donelson Center
211 Commerce Street, Suite 800
Nashville, Tennessee 37201
Telephone: (615) 726-5760
Facsimile: (615) 744-5760
Email: kweber@bakerdonelson.com
Email: msutton@bakerdonelson.com

Attorneys for Defendants

                                              /s/ Andy L. Allman
                                              Andy L. Allman




                                                 3

     Case 3:15-cv-00863 Document 14 Filed 01/27/16 Page 3 of 3 PageID #: 55
